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                                               08/23/24 Page
                                                          Page
                                                             1 of1 5of 5




                  Exhibit 24
6/17/24, 11:31 PM                                                         Benchmark US 2020 awards - New York winners announced! | Benchmark Litigation
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                                                                      08/23/24 Page
                                                                                 Page
                                                                                    2 of2 5of 5
            Search for firms, practitioners and jurisdictions                                                                                             fl Search


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           Benchmark US 2020 awards - New York winners
           announced!
           27 February 2020 | by Michael Rafalowich



           Tags: Debevoise & Plimpton Wiggin and Dana Polsinelli Ulmer & Berne Kirkland & Ellis Blackwell Burke Simpson Thacher & Bartlett Gass
           Turek LLC Sills Cummis & Gross United States (National) Alabama Arkansas Connecticut District of Columbia Delaware Florida Iowa
            Illinois Indiana Kansas Kentucky Louisiana Massachusetts Maryland Maine Michigan Minnesota Missouri Mississippi North Carolina
            North Dakota New Hampshire New Jersey New York Ohio Pennsylvania Rhode Island South Carolina Tennessee Texas Virginia
            Vermont Wisconsin West Virginia Georgia (State) Dispute resolution


        On February 27th Benchmark Litigation hosted the first part of it ninth annual US awards in which it recognized the country’s most distinguished litigators
        and their firms for their work over the past twelve months.

        This year for the first time the brand is having two seperate ceremonies, one on the East coast at the Pierre, New York on February 27 and one on the
        West coast at The St Regis, San Francisco on March 5.

        In New York the sold-out audience saw Katherine Forrest of Cravath Swaine & Moore and Ted Wells of Paul Weiss inducted into the Benchmark Litigation
        Hall of Fame. Wells also took the coveted award of "Trial Lawyer of the Year."

        Another highlight of the evening was Simpson Thacher's Jonathan Youngwood collecting the Pro Bono award for his firm for its work in the Brown v.
        Madison County case concerning racially motivated policing.

        Firms from over half of the states plus DC were represented in the room. More firms will be attending the inaugural West Coast ceremony on March 14.
        Please click the link below to see the shortlist for that ceremony or email rebecca.synnott@euromoneyny.com for more details.

        Benchmark US Awards West Coast Ceremony shortlist


        Photographs from the New York award ceremony may be found HERE.



        Congratulations to the winners, all of which are listed below:



        STATE FIRM AWARDS
        Alabama Firm of the Year
        Lightfoot Franklin & White

        Arkansas Firm of the Year
        Quattlebaum Grooms & Tull

        Connecticut Firm of the Year
        Wiggin and Dana

        Delaware Firm of the Year
        Ross Aronstam & Moritz

        District of Columbia Firm of the Year
        Williams & Connolly

        Florida Firm of the Year
        Podhurst Orseck

        Georgia Firm of the Year
        King & Spalding

        Illinois Firm of the Year
        Kirkland & Ellis

        Indiana Firm of the Year
        Faegre Baker Daniels

        Iowa Firm of the Year
        Nyemaster Goode

        Kansas Firm of the Year
        Rouse Frets Goss White Gentile & Rhodes

        Kentucky Firm of the Year
        Stites & Harbison

https://benchmarklitigation.com/NewsAndAnalysis/Benchmark-US-2020-awards-New-York-winners-announced/Index/5009                                                        1/5
6/17/24, 11:31 PM                                                         Benchmark US 2020 awards - New York winners announced! | Benchmark Litigation
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        Louisiana Firm of the Year               Document75-14
                                                          74-1 Filed
                                                                Filed07/13/24
                                                                      08/23/24 Page
                                                                                 Page
                                                                                    3 of3 5of 5
        Barrasso Usdin Kupperman Freeman & Sarver

        Maine Firm of the Year
        Preti Flaherty Beliveau & Pachios

        Maryland Firm of the Year
        Nelson Mullins Riley & Scarborough

        Massachusetts Firm of the Year
        Choate Hall & Stewart

        Michigan Firm of the Year
        Bodman

        Minnesota Firm of the Year
        Blackwell Burke

        Mississippi Firm of the Year
        Brunini Grantham Grower & Hewes

        Missouri Firm of the Year
        Polsinelli

        New Hampshire Firm of the Year
        Nixon Peabody

        New Jersey Firm of the Year
        Sills Cummis & Gross

        New York Firm of the Year
        Wachtell Lipton Rosen & Katz

        North Carolina Firm of the Year
        Smith Anderson

        North Dakota Firm of the Year
        Zuger Kirmis & Smith

        Ohio Firm of the Year
        Ulmer & Berne

        Pennsylvania Firm of the Year
        Saul Ewing Arnstein & Lehr

        Rhode Island Firm of the Year
        Adler Pollock & Sheehan

        South Carolina Firm of the Year
        Nelson Mullins Riley & Scarborough

        Tennessee Firm of the Year
        Bradley

        Texas Firm of the Year
        Gibbs & Bruns

        Vermont Firm of the Year
        Paul Frank + Collins

        Virginia Firm of the Year
        Hunton Andrews Kurth

        West Virginia Firm of the Year
        Bowles Rice

        Wisconsin Firm of the Year
        Gass Weber Mullins




        PRACTICE AREA FIRMS OF THE YEAR
        Antitrust Firm of the Year
        Winston & Strawn

        Appellate Firm of the Year
        Gibson Dunn & Crutcher




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6/17/24, 11:31 PM                                                         Benchmark US 2020 awards - New York winners announced! | Benchmark Litigation
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        Bankruptcy Firm of the Year              Document75-14
                                                          74-1 Filed
                                                                Filed07/13/24
                                                                      08/23/24 Page
                                                                                 Page
                                                                                    4 of4 5of 5
        Proskauer

        General Commercial Firm of the Year
        Paul Weiss Rifkind Wharton & Garrison

        Insurance Firm of the Year
        Blank Rome

        Intellectual Property Firm of the Year
        Williams & Connolly

        International Arbitration Firm of the Year
        Cleary Gottlieb Steen & Hamilton

        Product Liability Firm of the Year
        Nelson Mullins Riley & Scarborough

        Securities Firm of the Year
        Simpson Thacher & Bartlett

        White Collar Crime/Enforcement/Investigations Firm of the Year
        Debevoise & Plimpton

        Boutique Firm of the Year Firm of the Year
        Kaplan Hecker & Fink

        Plaintiff Firm of the Year
        Pomerantz

        Trial Firm of the Year
        Bartlit Beck



        LABOR & EMPLOYMENT AWARDS
        Labor & Employment Management-Side Firm of the Year
        Seyfarth Shaw

        Labor & Employment Management-Side Attorney of the Year
        Elise Bloom
        Proskauer

        Labor & Employment Employee-Side Firm of the Year
        Sanford Heisler & Sharp

        Labor & Employment Employee-Side Attorney of the Year
        Shannon Liss-Riordan
        Lichten & Liss-Riordan




        PRACTICE AREA ATTORNEYS OF THE YEAR
        Antitrust Attorney of the Year
        Kevin Orsini
        Cravath Swaine & Moore

        Appellate Attorney of the Year
        Willy Jay
        Goodwin

        Bankruptcy Attorney of the Year
        Martin Bienenstock
        Proskauer

        General Commercial Attorney of the Year
        Orin Snyder
        Gibson Dunn & Crutcher

        Insurance Attorney of the Year
        Robert Horkovich
        Anderson Kill

        Intellectual Property Attorney of the Year
        Max Tribble
        Susman & Godfrey




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6/17/24, 11:31 PM                                                         Benchmark US 2020 awards - New York winners announced! | Benchmark Litigation
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                               3:23-cv-01788-JD Document
                                                 Document75-14
        International Arbitration Attorney of the Year    74-1 Filed
                                                                Filed07/13/24
                                                                      08/23/24 Page
                                                                                 Page
                                                                                    5 of5 5of 5
        Michael Kim
        Kobre & Kim

        Product Liability Attorney of the Year
        Allison Brown
        Skadden

        Securities Attorney of the Year
        Adam Hakki
        Shearman & Sterling

        White Collar Crime/Investigations/Enforcement Attorney of the Year
        Sean Hecker
        Kaplan Hecker & Fink

        Plaintiff Attorney of the Year
        Bill Reid
        Reid Collins & Tsai

        Trial Lawyer of the Year
        Ted Wells
        Paul Weiss Rifkind Wharton & Garrison



        HALL OF FAME
        Katherine Forrest
        Cravath Swaine & Moore

        Ted Wells
        Paul Weiss Rifkind Wharton & Garrison




        IMPACT CASES
                New York v. ExxonMobil (Paul Weiss Rifkind Wharton & Garrison)
                US v. Bogucki (Kaplan Hecker & Fink)
                CNN v. Trump (Gibson Dunn & Crutcher)
                Title Source Inc. v. HouseCanary Inc. (Susman Godfrey)
                O’Connor v. Uber (Gibson Dunn & Crutcher; Lichten & Liss-Riordan)
                In re the Financial Oversight and Management Board for Puerto Rico (Proskauer)
                Boston Cab Dispatch v. Uber (Boies Schiller & Flexner)
                Brown vs. Madison County (Simpson Thacher & Bartlett)
                Fiat Chrysler settlements (Sullivan & Cromwell; Lieff Cabraser Heimann & Bernstein; and Cleary Gottlieb Steen & Hamilton)
                Sears Chapter 11 (Weil Gotshal & Manges; Cleary Gottlieb Steen & Hamilton; Paul Weiss Rifkind Wharton & Garrison; and Akin Gump Strauss
                Hauer & Feld)




        Pro Bono Firm of the Year
        Simpson Thacher & Bartlett




        Once again, we at Benchmark Litigation extend our congratulations to all of the evening’s winners and attendees and thank our guests for their continuing
        support of our projects.

        The new Benchmark Litigation research cycle is already underway. Firms can register their interest, find full timelines and a list of FAQs, and download all
        relevant documents HERE.

        Related articles

       Benchmark Litigation Asia-Pacific 2024 Rankings are now live

       Benchmark Litigation Asia-Pacific Market Trends Report 2024

       Cara Cameron joins Woods

       Q&A with Elizabeth (Liz) Stotland Weiswasser & Sutton Ansley of Weil Gotshal & Manges

       Gordon Rees adds commercial trio in Philadelphia and New York




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